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   9

  10
                            UNITED STATES DISTRICT COURT
  11
                          CENTRAL DISTRICT OF CALIFORNIA
  12
                                       SOUTHERN DIVISION
  13
        JETPACK ENTERPRISES, LLC, a                Case No:
  14
        California Company, and JETPACK
  15    ENTERPRISES – SAN DIEGO, LLC., a           COMPLAINT FOR
        California Company,                        (I) BREACH OF CONTRACT
  16
                                                   (II) FRAUD
  17                     Plaintiffs,               (III) PROMISSORY FRAUD
  18               v.                              (IV) NEGLIGENT
                                                   MISREPRESENTATION
  19    JETLEV, LLC, a Delaware Company,           (V) INTENTIONAL
                                                   INTERFERENCE WITH
  20    JETLEV TECHNOLOGIES, Inc., a Florida       PROSPECTIVE ECONOMIC
        Company, JLIP, LLC, a Delaware             ADVANTAGE
  21    Company, AQUAFLIER, LLC, a Florida         (VI) CONVERSION
  22    Company, JLSG, LLC, a New Jersey           (VII) NEGLIGENCE
        Company, SETH GERSZBERG, an                (VIII) FRAUDULENT
  23    Individual, and MATTHEW                    CONVEYANCE
  24    ROSENBLATT, an Individual,                 (IX) BREACH OF FIDUCIARY
                                                   DUTY
  25                     Defendants.
  26
                                                       DEMAND FOR JURY TRIAL
  27

  28


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   1               Plaintiffs Jetpack Enterprises, LLC (“Jetpack Enterprises”) and Jetpack Enterprises
   2    – San Diego, LLC (“Jetpack Enterprises – San Diego”), by and through their attorneys,
   3    bring this Complaint in diversity against Defendants Jetlev, LLC; Jetlev Technologies,
   4    Inc.; JLIP, LLC; Aquaflier, LLC; JLSG, LLC; Seth Gerszberg and Matt Rosenblatt for
   5    breach of contract, fraud, promissory fraud, negligent misrepresentation, intentional
   6    interference with prospective economic advantage, conversion, negligence, fraudulent
   7    conveyance, and breach of fiduciary duty.
   8                                    JURISDICTION AND VENUE
   9           1.        This Court has diversity jurisdiction over this action pursuant to 28 U.S.C. §
  10    1332 because the Plaintiffs and Defendants are citizens of different States and because
  11    the amount in controversy exceeds $75,000.
  12           2.        This Court has in personam jurisdiction over Defendants because
  13    Defendants purposefully directed the activities complained of hereunder at Plaintiffs in
  14    California; because Defendants purposefully availed themselves of the benefits of doing
  15    business with Plaintiffs in California with respect the subject matter at issue; because the
  16    contract terms at issue were negotiated in the State of California; because Defendants’
  17    obligations were to be performed in California; and because the harms inflicted by
  18    Defendants were felt by Plaintiffs in California.            The facts supporting personal
  19    jurisdiction are laid out in further detail below and are expressly incorporated here.
  20           3.        Venue is proper under 28 U.S.C. §1391(b)(2) and (c)(2) in the Central
  21    District of California because a substantial part of the events or omissions giving rise to
  22    the claim occurred within this District, where Jetpack Enterprises’ Newport Beach central
  23    place of business operations is located.            Venue is also proper under 28 U.S.C.
  24    §1391(b)(3) because defendants are subject to the court’s personal jurisdiction in this
  25    District, as discussed above.
  26                                                PARTIES
  27           4.        Jetpack Enterprises is a California limited liability company having its
  28    principal place of business at 2600 Newport Blvd., Suite 122, Newport Beach, California
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   1    92663.
   2           5.    Jetpack Enterprises – San Diego is a California limited liability company
   3    having its principle place of business at 1010 Santa Clara Place, San Diego, CA 92109.
   4           6.    Upon information and belief, Plaintiffs allege that Defendant Jetlev, LLC is
   5    a Delaware limited liability company having its principal place of business at 1105 Old
   6    Griffin Road, Dania Beach, Florida 33004.
   7           7.    Upon information and belief, Plaintiffs allege that Defendant Jetlev
   8    Technologies, Inc. is a Florida corporation having its principal place of business at 1105
   9    Old Griffin Road, Dania Beach, Florida 33004.
  10           8.    Upon information and belief, Plaintiffs allege that Defendant JLIP, LLC is a
  11    Delaware limited liability company having its principal place of business at 1105 Old
  12    Griffin Road, Dania Beach, Florida 33004.
  13           9.    Upon information and belief, Plaintiffs allege that Defendant Aquaflier, LLC
  14    is a Florida limited liability company having its principal place of business at 21200 Point
  15    Place, Suite 2903, Aventura, FL 33180.
  16           10.   Upon information and belief, Plaintiffs allege that Defendant JLSG, LLC is
  17    a New Jersey limited liability company having its principal place of business at 811
  18    Church Road #105, Cherry Hill, New Jersey 08002.
  19           11.   Upon information and belief, Plaintiffs allege that Defendant Seth Gerszberg
  20    is an individual residing in the State of New York and having an address at 501 Tenth
  21    Avenue, Floor 7, New York, NY 10018.
  22           12.   Upon information and belief, Plaintiffs allege that Defendant Matt
  23    Rosenblatt is an individual residing in the State of Florida and having an address at 21200
  24    Point Place, Suite 2903, Aventura, FL 33180.
  25                   FACTUAL ALLEGATIONS PART I: BACKGROUND
  26                                      Plaintiffs’ Businesses
  27           13.   Plaintiffs are engaged in the business of renting and selling recreational
  28    water jetpack equipment under the trade name “Jetpack America.” Water jetpacks allow
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   1    users to “fly” over a body of water by employing a floating pump to force water up a
   2    hose to an apparatus worn by the user that expels the water at high velocity, generating
   3    lift. Water jetpacks have become increasingly popular in recent years as an alternative to
   4    other personal watercraft such as Jet Skis and WaveRunners. Jetpack Enterprises has a
   5    jetpack rental operation in Newport Beach, and Jetpack Enterprises – San Diego has a
   6    similar operation in San Diego. Jetpack Enterprises is also engaged in the sale of
   7    jetpacks and jetpack equipment. Jetpack Enterprises – San Diego is a corporate affiliate
   8    of Jetpack Enterprises and has the same principal executive officer (Dean O’Malley) who
   9    is based out of Jetpack Enterprises’ offices in Newport Beach, California.            Jetpack
  10    Enterprises – San Diego is an intended third party beneficiary of many of the contracts
  11    entered into by Jetpack Enterprises including some of those discussed here.
  12                           Jetlev Technologies, Inc. And Raymond Li
  13           14.   Florida Secretary of State records show that Raymond Li founded a
  14    company called Jetlev Sports, Inc. in August 2007, and that company then changed its
  15    name to Jetlev Technologies, Inc. (“JTI”) in February 2011. JTI still nominally exists on
  16    paper today at the address 1105/1111 Old Griffin Road in Dania Beach, Florida, with Mr.
  17    Li as an executive. However, as discussed below, Jetlev LLC assumed JTI’s business
  18    obligations and liabilities in early 2012, leaving JTI as essentially a “paper-only” entity.
  19           15.   Mr. Li had a strong personal passion for water jetpacks. He was awarded
  20    three patents for the technology, and led the first efforts to transform it into a new water
  21    sports industry. Prior to the arrival of Seth Gerszberg, as discussed below, Mr. Li was
  22    very much the “patriarch” of his business, investing his personal drive and ambition into
  23    the company. His original objective was to set up “dealerships” across the United States
  24    to sell the units at about $99,500 each. Mr. Li also intended there to be commercial rental
  25    operations partnered with JTI to promote the new sport with the public at large.
  26           16.   The original jetpack unit developed by JTI was called the “R200.”                 It
  27    consisted of (A) a floating hull containing an water pump engine (the exact same engine
  28    as would be used in a Jet Ski or similar watercraft), (B) a jetpack unit worn by the user
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   1    like a backpack with twin nozzles to expel jets of water in order to generate lift, and (C) a
   2    hose connecting the hull/engine assembly to the jetpack. JTI made these units upon
   3    demand in-house rather employing a mass-manufacturing operation, though JTI’s
   4    business plan was to commence such an operation.
   5           17.    JTI had numerous business partners, both to serve as his “dealerships,” as
   6    well as third-party rental operations to promote the jetpacks to tourists, as well as a
   7    network of suppliers and supporters.      Mr. Li intended to work with these business
   8    partners to increase awareness of jetpack technology in the public consciousness, and,
   9    importantly, to learn what customers needed so as to help JTI develop a better second
  10    generation mass market product at a lower price point. These third parties - including
  11    some of the Plaintiffs herein - were invested in growing JTI’s business and working with
  12    JTI as partners to promote jetpack technology to a broad consumer base, rather than any
  13    narrow demographic. The expectation of the parties - both JTI and its business partners -
  14    was that their relationships would grow and expand, and that Mr. Li’s plan for JTI was to
  15    transition to mass manufacturing once the second generation product designs were
  16    completed. In short, JTI and its business partners operated, both expressly in their
  17    agreements, and implicitly in their course of dealing, with the expectation that JTI would
  18    be expanding to service a mass-market rental and sales operation across the United States
  19    and internationally.
  20           18.    JTI business partners experienced early success in 2011, opening rental
  21    operations to enthusiastic customers, and rapidly garnering attention to the new this new
  22    watersport.
  23                            Mr. Gerszberg Takes Control Of Jetlev
  24           19.    Mr. Li fell on hard times with his own personal finances by the end of 2011.
  25    It was at this point that New York-based entrepreneur Seth Gerszberg took an interest in
  26    Mr. Li’s company. Mr. Gerszberg is best known for founding the popular clothing
  27    company MEE Apparel, which retailed under the well-known brand name “Eck? unltd.”
  28    In 2009, the company reportedly had over $1 billion in global revenue and was the largest
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   1    brand in streetwear.    When MEE Apparel later filed for bankruptcy in 2014, Mr.
   2    Gerszberg became the bidder for millions of dollars of its assets through one of his other
   3    companies, Schuman LLC.
   4           20.   Upon information and belief, Mr. Gerszberg has a history of making money
   5    by either assuming control of the revenue streams from pre-existing businesses, or
   6    through an intellectual property licensing model.       The advantage of both of these
   7    strategies to Mr. Gerszberg is that they supply a passive revenue stream, and can be
   8    implemented remotely from New York.
   9           21.   Mr. Gerszberg took a personal interest in water jetpack technology and,
  10    sometime in 2011, embarked on a course of dealing that would result in his ultimately
  11    wresting control of Raymond Li’s business. Upon information and belief, Mr. Gerszberg
  12    viewed Mr. Li and someone who could be easily controlled because of his weakened
  13    financial condition, and Mr. Gerszberg intended to secure for himself ultimate control of
  14    the JTI revenue streams, and Mr. Li’s patents on the jetpack technology so that they
  15    could be licensed.
  16           22.   In mid-to-late 2011, Mr. Gerszberg entered into a loan agreement with Mr.
  17    Li and JTI whereby Mr. Gerszberg supplied funding to assist Mr. Li and JTI. It was at
  18    this point that Mr. Gerszberg announced his intention to become Mr. Li’s “business
  19    partner,” and began having a say in the operations of JTI. Mr. Gerszberg employed
  20    money as leverage to gain control. By some accounts, Mr. Gerszberg had already
  21    leveraged significant control of JTI by the end of 2011 through the use of loans to Mr. Li.
  22           23.   On November 30, 2011, Mr. Gerszberg formed the entity JLSG, LLC
  23    (“JLSG”) in New Jersey. It is understood that JLSG, appropriately, stands for “Jetlev
  24    Seth Gerszberg,” thus reflecting the alter ego nature of relationship. Mr. Gerszberg
  25    exercises sole control over JLSG and employs it as his personal corporate tool. The next
  26    day, on December 1, 2011, the twin Delaware entities Jetlev, LLC (“Jetlev”) and JLIP,
  27    LLC (“JLIP”) were formed with the objective that Jetlev would replace JTI, and that JLIP
  28    would be the intellectual property holding company for Jetlev. Mr. Gerszberg was a
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   1    manager of both companies. As described more fully later, each of Mr. Gerszberg and
   2    Mr. Li had an approximate 50% ownership interest in Jetlev. JLIP was owned 50/50 by
   3    Mr. Li and Mr. Gerszberg. On paper, Mr. Li was to share equal managerial control of
   4    both companies, but Mr. Gerszberg ignored this corporate form and exercised personal
   5    control of both entities, with Mr. Li being too under-capitalized to raise any effective
   6    protest. In essence, Mr. Gerszberg defrauded Mr. Li out of control of his business.
   7           24.   JLSG was Mr. Gerszberg’s vehicle to provide his own personal funding to
   8    Jetlev and JLIP. Mr. Gerszberg, in his individual capacity, also supplied funding to the
   9    Jetlev entities. Upon information and belief, Mr. Gerszberg also funneled money from
  10    his other companies to various Jetlev operations, never keeping proper accounting of
  11    such transfers.
  12           25.   Florida Secretary of State records indicate that Jetlev and JLIP applied for a
  13    license to do business in Florida in January 2012, and that both established their
  14    headquarters at 1111 Old Griffin Road, Dania Beach, Florida, which was also JTI’s
  15    address. 1111 Old Griffin Road is a commercial building adjoined by 1105 Old Griffin
  16    Road, which has more recently served as an address for Jetlev and JLIP. The buildings
  17    housed the manufacturing operation that built the jetpacks, as well as corporate offices.
  18    JLSG signed the Florida license paperwork as each of Jetlev, LLC’s and JLIP’s
  19    authorized representative.
  20           26.   Mr. Gerszberg gained control over Mr. Li’s business through what was
  21    called a “Joint Venture Agreement,” dated January 1, 2012 (attached here as Exhibit
  22    1). Under the Joint Venture Agreement, JTI was effectively merged into Jetlev, LLC by
  23    Mr. Gerszberg. JTI transferred all of its assets to Jetlev, and Jetlev assumed effectively
  24    all of JTI’s debts and obligations. (Ex. 1, p. 1).      Mr. Gerszberg was bound, through
  25    JLSG LLC, to provide funding to Jetlev sufficient to keep it in business and supply
  26    “working capital to meet predefined criterial [such as] financing of raw parts orders to
  27    meet [customer] orders with deposits.” (Ex. 1, p. 2).
  28           27.   JLSG is a mere fiction, existing for no other purpose than to allow the
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   1    funneling of money between Mr. Gerszberg and the Jetlev entities.
   2           28.   The Joint Venture Agreement further contemplated that Mr. Gerszberg
   3    would “provide, at no cost to [Jetlev], personnel to serve as President, and as VP of
   4    Marketing…[and] the services of Ecko’s general counsel…[and] the advisory services of
   5    Seth Gerszberg and…graphic media design and media placement services at no cost to
   6    Jetlev LLC.…Ray [Li], Jetlev Technologies, Inc., [] shall have no obligation to fund
   7    additional capital contributions or make loans to [Jetlev].” (Ex. 1, p. 2). Mr. Gerszberg
   8    had thus made himself personally responsible for running almost every aspect of the
   9    Jetlev business, and for keeping it financially afloat and operational. He also intertwined
  10    Jetlev operations with those of his other businesses, all of which were under his direct
  11    and personal control.
  12           29.   The “Governance” section of the Joint Venture Agreement provided that Mr.
  13    Gerszberg and Mr. Li had to jointly approve all “major actions” of Jetlev. (Ex. 1, p. 3).
  14    However, Mr. Gerszberg disregarded this provision and asserted complete control over
  15    Jetlev in violation of the Joint Venture Agreement.
  16           30.   The Joint Venture Agreement also included an assignment of all of Mr. Li
  17    and JTI’s intellectual property to JLIP, with the exception of Mr. Li’s patents, which Mr.
  18    Li retained personal ownership of (for the time being). JLIP is referred to in the Joint
  19    Venture Agreement as a “trademark holding company.” (Ex. 1, p. 4).
  20           31.   Under the Joint Venture Agreement, Jetlev was to assume all assets and
  21    liabilities of JTI. Indeed, Jetlev physically stepped into JTI’s shoes, assuming complete
  22    control of JTI’s facilities, employees, website, phone numbers, etc. Jetlev had no other
  23    office location or assets beyond those it inherited from JTI.
  24           32.   Jetlev, under Mr. Gerszberg’s direction, deliberately failed to draw a
  25    distinction between itself and JTI, leading many to assume that they were one and the
  26    same entity. For several months in the wake of the Joint Venture Agreement, various
  27    customer communications and important documents continued to refer to JTI in error, or
  28    referred generically to “Jetlev” without informing third parties that Jetlev was now in
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   1    control rather than JTI. To the extent that any corporate documents or communications
   2    purported to emanate from JTI rather than Jetlev after the Joint Venture Agreement, those
   3    documents and communications should be interpreted as a matter of law to have
   4    emanated from Jetlev.       The same is true for any corporate action and customer
   5    interactions that occurred after the Joint Venture Agreement. Absent discovery of new
   6    facts heretofore unknown to Plaintiffs, all evidence indicates that Jetlev stepped fully into
   7    JTI’s shoes, and assumed all of JTI’s contracts and liabilities, rendering JTI effectively a
   8    “paper-only” entity.
   9           33.   Regardless of anything contemplated by the Joint Venture Agreement, Mr.
  10    Gerszberg has at all times since at least the start of 2012 been the de facto executive in
  11    charge of all Jetlev operations for all the Jetlev entities. Although Raymond Li was
  12    nominally one of the managers of both Jetlev and JLIP, he ultimately had no say in the
  13    operation of the companies. Corporate records show that at some point in the first half of
  14    2014, Raymond Li was removed as a manager of Jetlev, leaving only Mr. Gerszberg as a
  15    manager. Although Mr. Li is still a 50% manager of JLIP, he has been completely cut
  16    out of the business, and JLIP takes all corporate actions without seeking his approval or
  17    even informing him.
  18           34.   Mr. Gerszberg co-mingled his own money with that of Jetlev and JLIP, and
  19    operated the businesses without conducting proper board meetings, keeping proper
  20    records, or setting proper policies on how money could be withdrawn from the company
  21    by him or its executives. This information has been attested to by many former Jetlev
  22    employees with first-hand knowledge of Jetlev’s day-to-day business practices.
  23           35.   In mid-to-late 2011 – well before the Joint Venture Agreement had been
  24    executed – Mr. Gerszberg installed his brother-in-law, Benjamin White, as de facto new
  25    President of JTI.      By the start of 2012, the title became official, with Mr. White
  26    designated as President of Jetlev. Mr. White had no past experience that would qualify
  27    him for a role of this kind, and was given the job solely because he was Mr. Gerszberg’s
  28    brother-in-law and could be directly controlled by Mr. Gerszberg from New York. Mr.
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   1    White acted under the direction and control of Mr. Gerszberg, and quickly supplanted
   2    Mr. Li. Per the Joint Venture Agreement, Mr. White’s authorization (and thus Mr.
   3    Gerszberg’s) was required for any withdrawal of more than $2,500 (or $5,000 aggregate
   4    in a month) from Jetlev and JLIP bank accounts. Through Mr. White, Mr. Gerszberg
   5    maintained complete control over the business.         To help guarantee Mr. White’s
   6    compliance, Mr. Gerszberg paid for him to have an expensive residence near Jetlev, and
   7    set his salary at close to $400,000 per year.
   8           36.   Mr. Gerszberg forbade Jetlev from soliciting funds from any other corporate
   9    investors so that Mr. Gerszberg’s control of Jetlev would not be threatened.          Mr.
  10    Gerszberg insisted upon this even when the company was dangerously undercapitalized.
  11           37.   Mr. Gerszberg further exercised improper personal control over Jetlev (and
  12    JLIP) by employing his own personal attorneys to manage legal affairs for the companies,
  13    even though at least one of these attorneys had no attorney-client relationship with
  14    Jetlev/JLIP, and at least one other was a quasi-employee whose salary (or at least a
  15    significant part of it) appears to have been sourced directly from Mr. Gerszberg. Jetlev
  16    and JLIP should have had their own counsel who answered only to the legal interests of
  17    Jetlev and JLIP. Instead, Mr. Gerszberg used attorneys loyal to (and paid by) himself,
  18    who improperly purported to be acting in the interests of Jetlev and JLIP, when they were
  19    in fact acting only in Mr. Gerszberg’s personal interests.       To the extent that Mr.
  20    Gerszberg directed Jetlev or JLIP assets to compensate these attorneys for work that was,
  21    in truth, performed for himself, Mr. Gerszberg further abused the corporate form of Jetlev
  22    and JLIP.
  23           38.   Under the Joint Venture Agreement, Jetlev was to pay Mr. Li a six-figure
  24    salary, extinguish certain loans, and provide him a leased corporate vehicle.         Mr.
  25    Gerszberg however, refused to allow Jetlev to provide this promised compensation to Mr.
  26    Li.
  27           39.   In August 2012, Mr. Li prepared a press release (attached here as Exhibit 2)
  28    announcing his diminished role in the company.          It was effectively a retirement
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   1    announcement. The press release explained that “Under the Joint Venture Agreement,
   2    Jetlev, LLC can call on a multi-million dollar capital pool through Seth, who would
   3    transfer funds through Ecko Enterprises. Jetlev, LLC has a license to use the Jetlev
   4    trademark and the intellectual property for water jet personal propulsion technology.
   5    The joint venture brought into the new operating company a large pool of available
   6    capital, a seasoned executive team and in-house legal expertise to help ramp up
   7    production and expand the Jetlev market domestically and internationally. Benjamin
   8    White is the president who is in charge of all day-to-day management responsibilities,
   9    while Raphie Aronowitz is VP of Marketing of Jetlev, LLC. My role as the Jetlev inventor
  10    and founder of Jetlev Technologies, Inc. will continue at Jetlev, LLC only as a part owner
  11    and senior technical consultant.” Thus, Mr. Li confirmed that he had been supplanted at
  12    Jetlev by Mr. Gerszberg, who was expected to “call on a multi-million dollar capital
  13    pool” to keep the company operational and successful.
  14           40.   Mr. Li’s announcement said nothing of any fundamental change in Jetlev
  15    operations, and quite to the contrary, promised that Jetlev would continue its existing
  16    operations, and solicited Jetlev’s business partners to provide continued support for the
  17    company.
  18           Mr. Gerszberg Wipes The Slate Clean On The Pre-Existing Jetlev Business
  19           41.   Mr. Gerszberg embarked upon a deliberate effort to “wipe the slate clean”
  20    on the pre-existing Jetlev business and consolidate control over the jetpack industry and
  21    the jetpack intellectual property.   Rather than invest resources in Jetlev’s existing
  22    business model and support Jetlev’s existing customers, Mr. Gerszberg sought to
  23    capitalize on third party jetpack businesses, and become the principal licensor of
  24    intellectual property rights worldwide. This would allow him to receive a steady flow of
  25    passive income from the business, without having to expend the effort of developing
  26    Jetlev’s own internal manufacturing efforts or continuing Mr. Li’s existing business
  27    model.
  28           42.   Mr. Gerszberg’s plans were improper for several reasons. First, they were
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   1    done without the consent and authority of Mr. Li, who was supposed to have equal input
   2    on any such matters. Mr. Gerszberg treated the business as his own private company
   3    without answering to Mr. Li, and indeed even entered into improper negotiations to sell a
   4    significant share of the business without Mr. Li’s consent, as will be discussed below.
   5    Mr. Gerszberg ultimately forced Mr. Li to abdicate ownership of his patents under duress.
   6    Second, Mr. Gerszberg did not honor the contractual and warranty obligations owed to
   7    existing business partners and customers, instead allowing them to flounder by
   8    deliberately underfunding the existing commercial operations.             Mr. Gerszberg
   9    deliberately kept hidden from existing and prospective business partners and customers
  10    the fact that he was taking Jetlev in a new direction that could not support them or the
  11    original business model. This was to prevent these third parties from raising any protest,
  12    and to induce them to continue to invest money that Mr. Gerszberg could apply to other
  13    purposes. Jetlev’s fraudulent actions caused these unsuspecting third parties to lose large
  14    amounts of money. Third, Mr. Gerszberg, along with other Defendants named herein,
  15    ultimately engaged in the practice of taking money from prospective purchasers of
  16    jetpacks, and then never delivering the equipment, hiding behind a false claim of
  17    bankruptcy while fraudulently transferring Jetlev’s remaining assets to a new company,
  18    Aquaflier.
  19           43.   At the outset in 2012, Mr. Gerszberg briefly invested in an ill-considered
  20    effort to market the jetpacks exclusively to wealthy yacht owners (rather than the general
  21    public, as Mr. Li had intended). He diverted an unreasonably large amount of money to
  22    this endeavor, paying a small staff several hundred thousand dollars to attempt sales
  23    directly to yacht owners in Ft. Lauderdale and the Caribbean. Mr. Gerszberg soon
  24    cancelled the project when it proved a complete failure. During this time, Jetlev’s pre-
  25    existing business operations were left dangerously underfunded. Pre-existing customers,
  26    including the dealership and rental operation partners, were not given proper warranty
  27    support, were allowed to flounder, and were not informed that Mr. Li’s original business
  28    model had been replaced.
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   1           44.   Mr. Gerszberg began using money from prospective new customers for
   2    improper purposes. On such instance is described here as an example. A close friend of
   3    Mr. Gerszberg named Matthew Rosenblatt had loaned Mr. Gerszberg several hundred
   4    thousand dollars. In September 2012, a prospective Jetlev customer named Barry Berger
   5    approached Jetlev wanting to become a rental operator business partner like the other the
   6    other jetpack rental operators that had started under Mr. Li’s tenure. Unaware that Mr.
   7    Gerszberg was shutting down the old Jetlev business operations, Mr. Berger offered to
   8    pay almost $200,000 as a deposit on the purchase of several jetpacks.         Instead of
   9    informing Mr. Berger that Jetlev would no longer be able to support such a business
  10    model, Jetlev took the money. Mr. Gerszberg then withdrew the money from Jetlev to
  11    repay his loan from Mr. Rosenblatt. Mr. Berger never received his promised jetpacks.
  12           45.   Mr. Gerszberg deliberately avoiding keeping proper accounting records. A
  13    qualified accountant who was originally working at the company was forced out in early
  14    2012, and replaced by an unqualified bookkeeper. Mr. Gerszberg’s brother-in-law, Mr.
  15    White, kept a personal notebook of Jetlev accounts that he kept to himself and only
  16    shared with Mr. Gerszberg. Mr. Gerszberg also improperly used JTI’s bank account
  17    rather than opening a new one for Jetlev, making it impossible to accurately track
  18    financial transactions, and keeping business partners further in the dark about the true
  19    structure of the company. Upon information and belief, Mr. Gerszberg (and later Mr.
  20    Rosenblatt) took advantage of this loose bookkeeping environment to manipulate
  21    finances at their convenience, hide company finances from Mr. Li, and avoid recording
  22    any improper transactions.
  23           46.   On July 2, 2012, Mr. Gerszberg caused Jetlev to file a patent infringement
  24    lawsuit against a company called Flyboard, which was Jetlev’s largest competitor. See
  25    S.D. Fl. Case No. 12-61323. This was part of Mr. Gerszberg’s effort to leverage control
  26    over third parties that could supply him with a passive revenue stream, instead of
  27    addressing the pre-existing obligations of the Jetlev business. The Flyboard lawsuit
  28    would last a year and cost a significant amount of money, drawing critical resources and
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   1    attention away from Jetlev’s original manufacturing and sales business. Many then-
   2    employees of Jetlev (who themselves were never made fully aware of what Mr.
   3    Gerszberg was doing until it was too late) expressed dismay and confusion as to why this
   4    happened, and credited the redirection of resources to the lawsuit with rendering Jetlev
   5    incapable of servicing its existing customers.
   6           47.   Mr. Li was named as a plaintiff in the suit because he was still (for the time
   7    being) the owner of the jetpack patents, and his nominal presence on the complaint was
   8    required to secure standing. The lawsuit was, however, orchestrated by Mr. Gerszberg,
   9    as was known by the employees working at Jetlev at the time.
  10           48.   Instead of selling water jetpacks, Flyboard sold water “jetboards” which
  11    resemble snowboards except that they expel water to propel the wearer. The principal
  12    defendant in the case was a Florida company operated by Kim Robinson that acted as the
  13    US distributor for a French company owned by Frankie Zapata. Mr. Zapata is the owner
  14    of several patents on the Flyboard design, and runs an international Flyboard distribution
  15    operation that was regarded as the primary competition for Jetlev.         Mr. Gerszberg
  16    attempted to use the lawsuit as leverage to negotiate a worldwide agreement with Mr.
  17    Zapata concerning the sale of jetpack products and licensing of jetpack intellectual
  18    property.
  19           49.   Upon information from those with direct knowledge, Mr. Gerszberg sent his
  20    personal lawyers to France to negotiate a deal with Mr. Zapata on terms favorable to Mr.
  21    Gerszberg personally, rather than Jetlev. When this failed, Mr. Gerszberg traveled to
  22    France himself and appeared to have successfully negotiated a worldwide jetpack alliance
  23    with Mr. Zapata. Mr. Gerszberg cut Mr. Li out of these negotiations and purported to
  24    commit Jetlev to various proposed business plans that would have fundamentally
  25    changed the company without authority from Mr. Li, and which would have drastically
  26    diminished Mr. Li’s interests in the company. At this point, however, Mr. Zapata came
  27    into possession of Mr. Gerszberg’s mobile phone and discovered communications
  28    indicating that Mr. Gerszberg intended to take control of Mr. Zapata’s operations. Mr.
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   1    Zapata cut off the deal, and the Flyboard lawsuit ended in a “walk-away.”
   2           50.   Around the same time as the Flyboard lawsuit came to a close, Jetlev
   3    announced that it would soon be releasing a new product called the “Aquaboard” which
   4    was essentially equivalent in design to Mr. Zapata’s patented Flyboard. Jetlev also
   5    indicated that it planned to release an improved jetpack product called the “Aquaflyer” to
   6    replace the pre-existing Jetlev R200 units. Upon information and belief, these new
   7    product ideas had been conceived with the expectation that Mr. Zapata (rather than
   8    Jetlev) would support their manufacture, before Mr. Zapata broke off negotiations with
   9    Mr. Gerszberg. Despite having no way to manufacture these proposed devices, Jetlev
  10    posted photos on their website of the supposed Aquaboard and Aquaflyer units, stating
  11    that they would be available by November 2013, and encouraging people to make
  12    deposits. However, the Aquaboard and Aquaflyer were not actually in production, and it
  13    was later revealed that the photographs were shot using components from Mr. Zapata’s
  14    Flyboard equipment.
  15           51.   As part of his effort to “wipe the slate clean” on the pre-existing Jetlev
  16    operations and gain control over the intellectual property, Mr. Gerszberg allowed Jetlev’s
  17    business to fail and to be underfunded until Mr. Li was financially unable to remain
  18    involved and was forced to abdicate his ownership of the patents. US Patent Office
  19    records indicate that in September 2013, Mr. Li sold all of his jetpack patents to JLIP.
  20    Mr. Li was then shown the door, and moved back to Canada.
  21           52.   In 2013, Jetlev also sought to gain control over Shanghai-based
  22    Stratospheric Industries, Inc., which had launched a highly successful jetpack product
  23    called the X-Jetpack for a tenth the cost of the Jetlev R200. Citing his ownership of the
  24    jetpack patents, Mr. Gerszberg demanded that Stratospheric effectively subrogate
  25    themselves to Jetlev, which would allow Mr. Gerszberg to secure a passive revenue
  26    stream while not having to invest in Jetlev pursuing its own manufacturing and sale
  27    operations. Stratospheric did not comply, but did agree to supply one of its X-Jetpacks to
  28    Jetlev pursuant to a Non-Disclosure Agreement on the promise that Jetlev would provide
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   1    feedback to Stratospheric. Instead, Jetlev, at the direction of Mr. Gerszberg and Mr.
   2    Rosenblatt, dismantled and attempted to reverse engineer the X-Jetpack in violation of
   3    the Non-Disclosure Agreement and after Stratospheric had demanded the unit’s return.
   4                 Mr. Gerszberg and Mr. Rosenblatt Falsely Claim Bankruptcy
   5                     While Shifting Assets to a New Company, Aquaflier
   6           53.   In July 2013, putting the nail in the coffin of the pre-existing Jetlev business,
   7    Mr. Gerszberg installed his close friend and confidante Matt Rosenblatt as the newly-
   8    named “CEO” of Jetlev, removing his brother-in-law Benjamin White in the process.
   9    Mr. Rosenblatt proceeded to fire most of the small remaining staff of Jetlev, rendering it
  10    completely incapable of doing business. Mr. Rosenblatt assumed the role of the face of
  11    Jetlev to its business partners and new customers. However, Mr. Rosenblatt still took
  12    orders directly from Mr. Gerszberg. In response to an email from one of the Plaintiffs in
  13    October 2013 seeking to confirm whether Mr. Gerszberg was still running the business,
  14    Mr. Rosenblatt replied unambiguously that “He [Mr. Gerszberg] and I are one in [sic] the
  15    same.”
  16           54.   The fact that Mr. Rosenblatt was shutting down Jetlev was not made known
  17    to existing and potential customers, who Mr. Rosenblatt actively encouraged to continue
  18    making deposits for new equipment that Jetlev knew could not be delivered. Jetlev’s
  19    website continued to advertise the Aquaboard and Aquaflyer products as available for
  20    purchase and delivery, and Jetlev continued to take money from customers who did not
  21    suspect that anything was amiss. Customers who required warranty assistance were
  22    falsely told that their claims were being handled. All of these misrepresentations were
  23    made with deliberate intent to draw as much money as possible into Jetlev, while
  24    simultaneously preventing customers from pursuing valid legal claims against the
  25    company.
  26           55.   By November 2013, Mr. Rosenblatt began telling certain persistent
  27    customers who were demanding status updates that Jetlev either already had, or was
  28    about to, enter bankruptcy, and that as a result they would not be getting back any of their
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   1    money. This had the effect, as was deliberately intended by Jetlev when it made the
   2    misrepresentations, of causing numerous customers to abandon their claims for tens or
   3    even hundreds of thousands of dollars in reliance on Jetlev’s false representation that it
   4    was subject to federal bankruptcy protection. Jetlev also never went back to any of these
   5    third parties to tell them that the company had not, in fact, gone bankrupt, thereby
   6    deliberately perpetuating the fraud indefinitely.
   7           56.   In reality, Jetlev never did, and still has not, declared bankruptcy. No public
   8    inspection of Jetlev’s finances has ever occurred.
   9           57.   In March 2014, Mr. Gerszberg and Mr. Rosenblatt formed a new company
  10    called Aquaflier, LLC (“Aquaflier”) in Florida.       Mr. Gerszberg and Mr. Rosenblatt
  11    created this entity with the expectation that it would pick up business without having to
  12    answer to Jetlev’s pre-existing obligations. They shifted any remaining assets of Jetlev to
  13    Aquaflier rather than using them to repay Jetlev’s debts. Thus, the purported Jetlev
  14    bankruptcy was employed as cover to fraudulently convey assets to a new company.
  15           58.   Aquaflier registered its address with the Florida Secretary of State as being
  16    Mr. Rosenblatt’s personal home residence. However, Aquaflier’s operations were based
  17    out of 1105/1111 Old Griffin Road, Dania Beach in Jetlev’s business space. This was
  18    done so that Aquaflier could easily appropriate Jetlev’s assets. Aquaflier absorbed
  19    Jetlev’s remaining inventory of equipment, its office space and supplies, and its website.
  20    Aquaflier even absorbed the same paperwork as Jetlev, by, for example, simply changing
  21    the name “Jetlev” to “Aquaflier” on the face of purchase order forms. Aquaflier also
  22    used the same employees, with Matt Rosenblatt remaining, along with at least one Jetlev
  23    engineer, and the attorney who had previously been hired by Seth to act as Jetlev’s
  24    lawyer. Essentially, the sign on the door was changed from “Jetlev” to “Aquaflier.”
  25           59.   Although Aquaflier is registered to Mr. Rosenblatt, those with direct
  26    knowledge have stated that Mr. Gerszberg was actively involved in the formation and
  27    funding of Aquaflier, and has actively participated in the unlawful transfer of assets from
  28    Jetlev to Aquaflier. Upon information and belief, a revenue-sharing agreement exists
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   1    between Mr. Gerszberg and Mr. Rosenblatt/Aquaflier, and Mr. Gerszberg operates
   2    Aquaflier in conjunction with Mr. Rosenblatt.
   3                   Mr. Gerszberg And Mr. Rosenblatt Defraud The Courts
   4           60.   In July and August of 2014, JLIP filed two patent infringement suits against
   5    third parties alleging infringement of one of Mr. Li’s patents. See S.D. Fl. Case Nos.
   6    0:14-cv-61618-WJZ and 0:14-cv-61798-JIC. This was the latest in Mr. Gerszberg’s
   7    efforts to leverage the patents to secure a passive revenue stream. However, Mr. Li was
   8    still a 50% manager-member of JLIP whose authorization would have been required to
   9    initiate such legal action. Mr. Gerszberg and his attorneys knew this, but never sought
  10    permission from Mr. Li to file the lawsuits, and thus knowingly initiated two federal
  11    litigations without proper standing, thereby committing serial acts of fraud upon the
  12    courts. Those lawsuits were actively litigated until midway through 2015 when they
  13    were stayed pending reexamination of the asserted patent. Substantial resources of the
  14    federal courts and the defendants were expended in the litigations, which are still
  15    pending.
  16           61.   A company called Aqua Jet Miami had lost an approximately $80,000
  17    payment to Jetlev for jetpack equipment that was never delivered. Aqua Jet Miami sued
  18    Jetlev, Aqualflier and Matt Rosenblatt.           See Broward County Case Number
  19    CACE14003000. Mr. Rosenblatt deliberately dodged service of process in this action,
  20    but he nonetheless took the time to submit an affidavit in that case under penalty of
  21    perjury in support of a motion for summary judgment stating that Aquaflier never
  22    inherited any assets from Jetlev. This was a false statement to the court.
  23           62.   Upon information and belief, Mr. Gerszberg and Mr. Rosenblatt have acted
  24    as they have because they believe Jetlev’s customers to be too inconsequential and
  25    unsophisticated to raise any effective protest. Despite several complaints having been
  26    made to the police, no action was taken against Jetlev, emboldening Mr. Gerszberg and
  27    Mr. Rosenblatt to continue with their plans. Several persons filed lawsuits against Jetlev
  28    in Broward County, but these too were unsuccessful because they either named the
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   1    incorrect party (Jetlev Technologies, Inc. only) or because Jetlev simply refused to appear
   2    to engage in the litigation. Jetlev has made repeated false claims of bankruptcy to
   3    dissuade persons from pursuing valid legal claims.
   4           63.   It is estimated by Plaintiffs that there are at least 30 aggrieved parties who
   5    have lost money to the Defendants in a manner similar to that of the Plaintiffs here.
   6    Government authorities, including the Florida Attorney General’s Office, have since
   7    attempted to follow up with some, but not all, of the Plaintiffs in this action who had
   8    previously made complaints before they knew the full facts of what transpired at Jetlev.
   9           64.   Mr. Gerszberg has resumed negotiations with Mr. Zapata, hoping to
  10    capitalize on the full or partial sale of JLIP and/or its patents. Mr. Zapata appears to have
  11    discovered, however, that Mr. Li still has 50% control of JLIP, and thus that Mr.
  12    Gerszberg is without corporate authority to effect the transfer. In response to this, Mr.
  13    Gerszberg has now initiated two lawsuits against Mr. Li, the objective of which is plainly
  14    to coerce Mr. Li into relinquishing his remaining control of JLIP so that Mr. Gerszberg
  15    can pursue his intellectual property sale and/or lawsuit efforts uninhibited.
  16     Mr. Gerszberg And Mr. Rosenblatt Are Liable As Alter Egos Of The Jetlev Entities
  17           65.   Mr. Gerszberg and Mr. Rosenblatt have hidden behind the corporate veil of
  18    Jetlev to engage in the foregoing actions for their own personal gain. Essentially, Mr.
  19    Gerszberg assumed control of an existing business through fraud, undermined that
  20    business, and defrauded customers and business partners in the process, none of whom
  21    were made aware of what Mr. Gerszberg was doing. Mr. Rosenblatt ultimately joined
  22    this effort, and together with Mr. Gerszberg, fraudulently conveyed the remaining assets
  23    of Jetlev to a new company, Aquaflier.
  24           66.   The facts supporting alter ego liability discussed both above and below are
  25    supported by information from interviews with multiple persons who have direct
  26    knowledge of the circumstances.
  27           67.   Both Mr. Gerszberg and Mr. Rosenblatt co-mingled their personal assets
  28    with Jetlev’s assets at their convenience, and then raided all the assets of Jetlev as they
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   1    dismantled the company. Mr. Gerszberg has alternately mingled his own funds with
   2    Jetlev, and used JLSG, under his sole direction, to funnel cash between himself and
   3    Jetlev. Mr. Gerszberg and Mr. Rosenblatt have not observed corporate formalities, did
   4    not keep adequate books or records, deliberately allowed Jetlev to be underfunded and
   5    understaffed such that it could not properly function or honor obligations, did not proceed
   6    with any proper bankruptcy procedures, used the dismantling of Jetlev as leverage to
   7    wrest control of the jetpack intellectual property for themselves, used the dismantling of
   8    Jetlev to avoid paying debts, and otherwise ignored any separateness between their own
   9    affairs and those of Jetlev (except when it suited them).
  10           68.      Some of the specific acts supporting alter ego liability include (as were
  11    discussed further above):
  12                 a. pushing Mr. Li out of the business and taking important corporate actions
  13                    without Mr. Li’s approval in violation of the Joint Venture Agreement and
  14                    Delaware LLC law;
  15                 b. ignoring the Joint Venture Agreement by not paying Mr. Li his promised
  16                    salary as a means to wrongfully exclude him from the business;
  17                 c. diverting Jetlev assets to pay excessive amounts of money to Mr.
  18                    Gerszberg’s personal associates who either were not formally employed by
  19                    Jetlev, or otherwise acted in Mr. Gerszberg’s interests rather than in Jetlev’s;
  20                 d. forbidding additional investors so that Mr. Gerszberg could maintain
  21                    personal control of the business;
  22                 e. deliberately under-capitalizing Jetlev in the face of pre-existing contractual
  23                    obligations to business partners and customers;
  24                 f. co-mingling personal assets with the company’s assets and then removing
  25                    assets at will without following any proper procedures or protocol;
  26                 g. withdrawing capital from Jetlev to repay personal debts;
  27                 h. using Jetlev to defraud Mr. Li into relinquishing control of his patents to
  28                    JLIP;
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   1               i. paying Jetlev’s in-house lawyer (who was put in place by Mr. Gerszberg)
   2                  either from Mr. Gerszberg’s personal account or from the account of his
   3                  fashion company, Ecko;
   4               j. employing Mr. Gerszberg’s in-house counsel from Ecko to manage
   5                  important affairs for Jetlev and draft important agreements for Jetlev, even
   6                  though Ecko counsel was not employed by Jetlev and had no attorney-client
   7                  relationship with it;
   8               k. failure to keep proper corporate records in a deliberate effort to cover up
   9                  improper transactions;
  10               l. improperly using JTI’s accounts to prevent having a clear record of Jetlev’s
  11                  transactions;
  12               m. unlawfully shifting assets out of Jetlev to other companies, such as Aquaflier
  13                  (which Mr. Gerszberg and Mr. Rosenblatt set up at Jetlev’s address to
  14                  facilitate the asset transfer);
  15               n. fraudulently telling customers that Jetlev was still engaging in normal
  16                  business operations to secure deposits for equipment that Jetlev knew could
  17                  not be delivered;
  18               o. fraudulently telling customers that Jetlev was bankrupt to avoid corporate
  19                  debts;
  20               p. failing to declare bankruptcy to avoid public scrutiny of company records;
  21               q. failure to hold board meetings of all the managers;
  22               r. Mr. Rosenblatt put himself personally in charge of communicating with
  23                  customers, including repeatedly telling them that their products would be
  24                  delivered soon (when they would not be), and telling them that Jetlev was in
  25                  bankruptcy (when it was not);
  26               s. Mr. Rosenblatt acted on direct orders from Mr. Gerszberg, who Mr.
  27                  Rosenblatt consulted with constantly and sought approval from, acting as
  28                  Mr. Gerszberg’s personal agent in Mr. Gerszberg’s and in his own personal
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   1                    interest rather than the interests of the company and its customers;
   2                 t. Mr. White had previously acted under the full control of Mr. Gerszberg.
   3           69.      Mr. Gerszberg and Mr. Rosenblatt are thus properly considered the alter
   4    egos of Jetlev, and therefore jointly liable with Jetlev. Adherence to the notion of
   5    separateness between Jetlev on one hand, and Mr. Gerszberg and Mr. Rosenblatt on the
   6    other, would sanction fraud and promote injustice.
   7           70.      Although it is believed that Jetlev assumed all relevant liabilities from JTI
   8    such that JTI has no remaining liability in this action, it is possible that Mr. Gerszberg
   9    and Mr. Rosenblatt might contest this and seek to shift liability back to JTI. To the extent
  10    that JTI is ever deemed to have maintained any liability separate from Jetlev, Mr.
  11    Gerszberg and Mr. Rosenblatt should be deemed alter egos of JTI because they
  12    wrongfully pushed out Mr. Li and took de facto control of all operations, treating JTI as if
  13    it simply were Jetlev, and using it to engage in the misconduct alleged herein. The reality
  14    as of January 2012 was that any interactions with third parties that might have seemed to
  15    be with JTI were in fact happening with Jetlev, under the direction and control of Mr.
  16    Gerszberg, and also later Mr. Rosenblatt.
  17           71.      Mr. Gerszberg has used JLSG as a corporate shield to engage in the
  18    foregoing acts, so JLSG is also liable and its corporate veil may be pierced to reach Mr.
  19    Gerszberg. As shown above, JLSG carries on no legitimate business, and was used for
  20    no other purpose than as a vehicle for Mr. Gerszberg to personally funnel money between
  21    himself and Jetlev. Adherence to the notion of separateness between JLSG on one hand,
  22    and Mr. Gerszberg on the other, would sanction fraud and promote injustice.
  23           72.      Mr. Gerszberg has also used JLIP for his own personal advantage and
  24    without regard for corporate formalities in all the same ways that he used Jetlev, as
  25    described above. In particular, although Mr. Li is a 50% manager of JLIP with a right to
  26    vote on its corporate actions, Mr. Gerszberg shut Mr. Li out and took control of the
  27    company for himself, using it as a vehicle to pursue an expensive litigation program
  28    without the authorization of Mr. Li. Mr. Gerszberg used JLIP to initiate two separate
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   1    lawsuits in 2014 despite knowing that he lacked standing to do so, thereby perpetuating a
   2    running fraud on the courts. JLIP operates out of the same address as Jetlev, and Mr.
   3    Gerszberg treats them as the same company.            Thus, adherence to the notion of
   4    separateness between JLIP on one hand, and Mr. Gerszberg on the other, would sanction
   5    fraud and promote injustice.
   6           73.      Mr. Rosenblatt and Mr. Gerszberg have employed Aquaflier for the
   7    fraudulent purpose of misappropriating Jetlev’s assets. Aquaflier is not a legitimate
   8    corporate entity. It was registered using Mr. Rosenblatt’s personal home address, yet its
   9    actual operations are at Jetlev’s address in Dania Beach, where it has taken over Jetlev
  10    facilities and assets without abiding by any proper corporate formalities.             Upon
  11    information and belief, Aquaflier has no board meetings and keeps no proper corporate or
  12    financial records.     It was created for the convenience of Mr. Rosenblatt and Mr.
  13    Gerszberg for a fraudulent purpose, namely to wrongfully assume the assets of Jetlev and
  14    avoid Jetlev’s liabilities. Adherence to the notion of separateness between Aquaflier on
  15    one hand, and Mr. Rosenblatt and Mr. Gerszberg on the other, would sanction fraud and
  16    promote injustice.
  17               JLIP, JLSG And Aquaflier Have Successor And/Or Alter Ego Liability
  18           74.      To the extent that Jetlev has effectively ceased to exist and is unable to
  19    account for its liabilities, JLIP, Aquaflier, and JLSG should each be held jointly liable for
  20    Jetlev’s misconduct under a successor liability and/or alter ego theory. Each of JLIP,
  21    Aquaflier, and JLSG have assumed the assets of Jetlev, have the same employees and
  22    managers as Jetlev, and have failed to observe proper corporate formalities in isolating
  23    their businesses from Jetlev, or properly disposing of Jetlev’s outstanding obligations to
  24    creditors. Jetlev cannot escape liability by shifting assets to other companies.
  25           75.      Furthermore, Mr. Gerszberg is an alter ego of JLIP, Aquaflier and JLSG –
  26    companies that he created to further the fraudulent business activities discussed herein,
  27    and that he has operated under his own control without regard for proper corporate
  28    formalities, and in contravention of the Joint Venture Agreement.           In the case of
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   1    Aquaflier, Mr. Gerszberg shares alter ego liability with Mr. Rosenblatt.
   2                                FACTUAL ALLEGATIONS PART II:
   3                                ALLEGATIONS AS TO PLAINTIFFS
   4               JTI And Jetpack Enterprises Had A Significant Business Relationship
   5            76.      In early 2011, John Morris – the founder of Plaintiffs’ businesses – entered
   6    into discussions with Mr. Li. Mr. Morris purchased several R200 jetpack units from JTI
   7    for just below their $99,500 sticker price, and set up a rental operation in Newport Beach.
   8    Jetpack Enterprises, LLC was formed in May 2011 and began operating under the trade
   9    name “Jetlev Southwest” (though there was no formal operating agreement between Mr.
  10    Li’s business and Jetpack Enterprises).
  11            77.      Jetpack Enterprises owned its jetpacks outright, and ran a successful rental
  12    operation for itself. Dean O’Malley was brought on board as President of Jetpack
  13    Enterprises and to oversee day-to-day operations. Jetpack Enterprises was also promised
  14    and paid a 15% commission from JTI (later absorbed by Jetlev) on jetpack sales that it
  15    arranged.
  16                  Jetlev Induces Jetpack Enterprises To Enter One-Sided Agreements
  17            78.      In 2012, Jetpack Enterprises became aware of Mr. White being appointed as
  18    the new President of Jetlev, but was unaware of (and was not informed by Jetlev of) the
  19    scale of changes that had occurred. Confusingly, Jetlev never attempted to properly
  20    distinguish itself from JTI, conveying the impression that it was exactly the same
  21    company and that no fundamental change in management had occurred.                   Jetpack
  22    Enterprises believed that Mr. Li was still involved in the business and that Jetpack
  23    Enterprises’ business relationship with Jetlev would proceed according to the preexisting
  24    plan.
  25            79.      In reliance on the promise that Jetlev would be able to supply additional
  26    jetpacks, Jetpack Enterprises expanded its operations and worked to establish a branch in
  27    Hawaii and set up clients with jetpack rental operations in other countries. This was done
  28    at significant expense and effort on Jetpack Enterprises’ part.
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   1           80.   There had never been a formal operational agreement between Jetpack
   2    Enterprises and Jetlev, although in January 2013, JLIP asked Jetpack Enterprises to
   3    execute a trademark licensing agreement. This was a one-sided agreement intended
   4    primarily to insulate Jetlev, JLIP and Mr. Gerszberg from any potential liability
   5    stemming from Jetpack Enterprises’ operations. Indeed, the agreement appears to have
   6    been drafted by Mr. Gerszberg’s personal attorney with a correspondence address in New
   7    York. The agreement did not even convey the rights the mark “Jetlev” itself, which was
   8    already in use by Jetpack Enterprises.        Despite executing the trademark licensing
   9    agreement, almost immediately thereafter Jetpack Enterprises decided to drop the “Jetlev
  10    Southwest” name in favor of the brand name “Jetpack America.”              The trademark
  11    licensing agreement expired after one year.
  12           81.   While in effect, the trademark licensing agreement called for Jetpack
  13    Enterprises to use “Headzone helmets” in conjunction with its rental operations in
  14    exchange for Jetpack Enterprises’ right to use certain Jetlev branding.
  15           82.   In February 2013, Jetpack Enterprises executed an agreement with Jetlev
  16    entitled the San Diego Flight Center Agreement (“San Diego Agreement”). The San
  17    Diego Agreement provided that Jetpack Enterprises would pay Jetlev a fully refundable
  18    $85,000 deposit toward the possible future purchase of four Jetlev R200 jetpacks for use
  19    at a new San Diego facility. In return, Jetlev was to provide exclusivity in the San Diego
  20    region. Jetpack Enterprises paid Jetlev $85,000 under the San Diego Agreement.
  21           83.   In actuality, there were no other competing jetpack operations in San Diego
  22    at the time, nor would there be in the months to come.
  23           84.   In March 2013, Jetpack Enterprises – San Diego was formed to operate the
  24    San Diego branch of Plaintiffs’ rental business. Mr. O’Malley acted as President, still
  25    based out of Newport Beach. The companies began to refer to themselves collectively by
  26    their brand name “Jetpack America.”
  27           85.   Around this same time, Jetlev began to noticeably fall behind in its business.
  28    Over the course of 2013, it became apparent that not only was Jetlev not delivering
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   1    promised equipment, it was also not following through on financial obligations. Jetlev’s
   2    conduct during 2013 included, among other things:
   3               a. After Jetpack Enterprises arranged the sale of two Jetlev jetpacks to a
   4                  customer in Singapore, Jetlev was many weeks late with the delivery, which
   5                  reflected very poorly on Jetpack Enterprises and caused significant strife
   6                  with the customer. Indeed, the customer threatened Jetpack Enterprises with
   7                  a lawsuit. Jetpack Enterprises was owed a 15% commission on the sales, the
   8                  $18,000 balance of which was never paid by Jetlev.
   9               b. Jetlev had promised to deliver the Headzone helmets that it required under
  10                  the trademark licensing agreement, but then failed to deliver those helmets,
  11                  forcing Plaintiffs to purchase them itself for $2,415.
  12               c. On or about June 2013, Jetpack Enterprises accidentally wired $9,400 to
  13                  Jetlev, but when Jetpack Enterprises asked for it be returned, Jetlev refused,
  14                  and only relented after extensive and repeated follow up from Jetpack
  15                  Enterprises.
  16               d. Plaintiffs’ Jetlev jetpack rental equipment started experiencing severe
  17                  mechanical failures that included broken water pumps and c-clamp ruptures.
  18                  These failures caused the jetpack equipment to be inoperable and to require
  19                  significant repairs. As a result, Plaintiffs lost business. When Plaintiffs sent
  20                  parts to Jetlev for repair, they were not repaired and not returned. These
  21                  parts belonged to Plaintiffs and were not the property of Jetlev.         Dean
  22                  O’Malley ultimately was required to travel to Jetlev in Florida and ship the
  23                  materials back to Jetpack Enterprises himself.
  24               e. Jetlev was generally unresponsive to inquiries from Jetpack Enterprises, and
  25                  hampered Jetpack Enterprises’ ability to engage in jetpack sales by not
  26                  giving Jetpack Enterprises sufficient access to information for pending
  27                  customers. Jetpack Enterprises’ reputation among jetpack purchasers was
  28                  tarnished.
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   1                        Jetlev Induces Plaintiffs To Credit Money Owed
   2                        Towards Jetpacks That Will Never Be Delivered
   3           86.   Jetpack Enterprises was not made aware of what was transpiring, and was
   4    instead induced to continue expanding its operations on the promise that Jetlev would be
   5    able to supply new jetpacks (the promised Aquaflyer and Aquaboard units). In reliance
   6    on these false assurances, Plaintiffs expended time and money to promote Jetlev jetpacks
   7    and seek commission-generating customers, many of whom made deposits with Jetpack
   8    Enterprises in the anticipation of purchasing new jetpacks. Jetpack Enterprises was thus
   9    putting its reputation on the line for Jetlev.
  10           87.   Starting in July 2013, Mr. O’Malley engaged in a series of negotiations and
  11    discussions with Mr. Rosenblatt to try to get business back on course. In reliance on the
  12    promise that Jetlev would imminently be releasing the Aquaflyer and Aquaboard on or
  13    about November 2013, Jetpack Enterprises put energy and effort into salvaging the
  14    relationship with Jetlev and promoting Jetlev products.     On or about August 2013,
  15    Jetpack Enterprises informed Jetlev that it wanted a refund of the $85,000 deposit it had
  16    made on the older model R200 units pursuant to the San Diego Agreement. Jetpack
  17    Enterprises also requested payment of the long overdue $18,000 in commission payments
  18    on the Singapore sales, as well as compensation for the $2,415 that Jetpack Enterprises
  19    had paid to obtain new Headzone helmets.
  20           88.   Mr. Rosenblatt led Mr. O’Malley to believe that Jetlev was merely facing a
  21    short term cash crunch, and that the best course of action was simply to credit the money
  22    that was owed to Jetpack Enterprises toward the purchase of new Aquaflyer and
  23    Aquaboard products, which would start being delivered on or about November 2013.
  24    However, upon information and belief, the units were not in production, and Mr.
  25    Rosenblatt was merely trying to mollify Jetpack Enterprises long enough for Jetlev to be
  26    dismantled, and so that Defendants could keep Jetpack Enterprises’ money.
  27           89.   The terms of the proposed agreement were hashed out over numerous email
  28    exchanges and phone calls with Mr. O’Malley in California. Mr. O’Malley drew up a
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   1    short contract (“Contract”) memorializing the deal, and on November 7, 2013, travelled
   2    to meet Mr. Rosenblatt and obtain his signature. That Contract is attached hereto as
   3    Exhibit 3. Mr. O’Malley signed the Contract on behalf of Jetpack America, referring to
   4    the brand of both his companies. In the Contract, Jetlev acknowledges and admits that it
   5    owed $105,422.80. In exchange for the forgiveness of that debt, Mr. O’Malley agreed to
   6    accept delivery of 11 AquaFlyer units valued at $7,000 each, and 3 Aquaboard units
   7    valued at $6,300 each. Mr. Rosenblatt signed the Contract on behalf of “Jetlev” as
   8    “President & CEO.” Attached to the Contract is a “Credit Memo” showing a $77,000
   9    credit towards the purchase of the 11 AquaFlyers, and $18,900 towards the purchase of
  10    the 3 Aquaboards. A separate spreadsheet entitled “Jetlev/Jetpack America Running
  11    Balance” is also attached, summarizing the bases of the debts owed. The understanding
  12    between the parties was that the units would start being delivered before the end of 2013,
  13    and the Contract requires Jetlev to provide parts and services at 50% off until the final
  14    unit had been delivered “to ensure timely delivery.”
  15           90.   Jetlev never delivered any of the Aquaflyers or Aquaboards, and has not
  16    returned any of the money that was owed.
  17                        Jetlev Falsely Claims To Have Gone Bankrupt
  18                         To Induce Plaintiffs To Give Up Their Claim
  19           91.   Mr. Rosenblatt continued to lead Mr. O’Malley to believe that the promised
  20    jetpacks were merely delayed, and that Jetlev they would still be delivering them
  21    imminently. In fact, Mr. Rosenblatt knew that the units were not going to be available,
  22    and indeed that they were not even being produced.
  23           92.   Finally, in April 2014, after months of frustration and dealing with
  24    prospective customers who had made deposits for the new jetpacks, Mr. O’Malley
  25    travelled to Jetlev headquarters to check on the status of the promised units.        Mr.
  26    Rosenblatt did not come to the Jetlev office when Mr. O’Malley arrived, and Mr.
  27    O’Malley was instead forced to track him to a local motorsports store where Mr.
  28    Rosenblatt was known to go to evade upset customers. Mr. Rosenblatt informed Mr.
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   1    O’Malley that he was in the midst of bankrupting Jetlev with plans to launch the new
   2    jetpack systems under a new company. Mr. Rosenblatt stated that, since the Contract was
   3    signed by him as a representative of Jetlev, which was now bankrupt, Jetlev would not be
   4    honoring the terms of the Contract, and Jetpack Enterprises would not be repaid any of its
   5    money. Mr. Rosenblatt then offered to allow Mr. O’Malley to buy new units from his
   6    new company for a similar price that was negotiated in the Contract. Defendants’ new
   7    company, however, was nowhere close to being able to deliver new products, and in fact
   8    has never launched the Aquaboard and Aquaflyer units.
   9           93.   Based on Mr. Rosenblatt’s assertion that Jetlev was now bankrupt, Plaintiffs
  10    cut ties with Jetlev, and Jetlev similarly ceased communications with Plaintiffs. As far as
  11    Plaintiffs were made to believe, the relationship was over and their money had been lost.
  12    Jetpack Enterprises was forced to return the deposits from customers who wanted to
  13    purchase the Aquaboard and Aquaflyer, which was damaging to Plaintiffs’ reputation.
  14    Plaintiffs had been counting on the new Jetlev units to supplement their existing business,
  15    and had invested considerable time, money and effort in reliance on Jetlev’s assurances.
  16    Jetpack Enterprises lost profits on the sales it would have made on the new units.
  17           94.   Relying on Mr. Rosenblatt’s statement that Jetlev had gone bankrupt and
  18    would not be refunding the money that was owed, Plaintiffs were induced to abandon the
  19    Contract and assume that the money was lost. However, unbeknownst to Plaintiffs,
  20    Jetlev never went bankrupt.
  21           95.   In early 2014, believing Jetlev to have gone out of business, Plaintiffs
  22    established a relationship with Stratospheric Industries. On August 6, 2014, without any
  23    warning, JLIP sued Plaintiffs and Stratospheric for patent infringement. See S.D. Fl.
  24    Case No. 14-61798. As noted above, JLIP was without corporate authority (and hence
  25    standing) to take this action.
  26                             CLAIM I – BREACH OF CONTRACT
  27           96.   Plaintiffs hereby incorporate the paragraphs of the Factual Background
  28    sections above as if stated fully herein.
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                                                                                             COMPLAINT
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   1           97.    This is a claim by Plaintiffs against Jetlev for breach of contract.
   2           98.    The Contract represented a binding agreement by which Jetlev was to have
   3    provided Plaintiffs with $95,900 worth of equipment in exchange for forgiveness of
   4    Jetlev’s $105,422.80 debt to Plaintiffs.
   5           99.    Plaintiffs fully performed their obligations under the Contract by forebearing
   6    from collecting the $105,422.80 of their funds and allowing said funds to be credited
   7    toward the purchase of the promised new jetpacks.
   8           100.   Jetlev completely failed to deliver any of the promised equipment and has
   9    not otherwise repaid Plaintiffs on amounts that were owed.             Instead, Jetlev falsely
  10    claimed to have gone bankrupt to avoid performance. Jetlev has thus materially breached
  11    the Contract to such an extent that the breach amounts to a total failure of consideration.
  12           101.   Plaintiffs’ damages because of said breach are $105,422.80 (plus interest), in
  13    addition to costs associated with time, money and effort expended in reliance on Jetlev’s
  14    promise to provide new equipment, and lost profits when that equipment was not
  15    delivered. Plaintiffs also suffered reputational injury.
  16           102.   Plaintiffs are also and/or in the alternative entitled to rescission, restitution
  17    and compensatory damages to make them whole.
  18           103.   The foregoing claims by all Plaintiffs are directed not only to Jetlev, but to
  19    Mr. Gerszberg and Mr. Rosenblatt in their personal capacities as alter egos of Jetlev, and
  20    to the extent Mr. Gerszberg or Mr. Rosenblatt personally engaged in the conduct alleged.
  21           104.   To the extent that any defendant attempts to shift liability to JTI, Mr.
  22    Gerszberg and Mr. Rosenblatt should be deemed alter egos of that entity as well for the
  23    reasons discussed elsewhere above.
  24           105.   Furthermore, to the extent that Jetlev is defunct and unable to account for its
  25    liabilities, JLIP, Aquaflier and JLSG should be held jointly liable for any acts by Jetlev
  26    because they are the successors in interest to Jetlev, and/or Jetlev’s alter egos. Mr.
  27    Gerszberg is further an alter ego of all these entities, and Mr. Rosenblatt is an alter ego of
  28    Aquaflier.
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                                                                                             COMPLAINT
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   1                                       CLAIM II - FRAUD
   2           106.   Plaintiffs hereby re-allege the paragraphs of the Factual Background sections
   3    above as if stated fully herein.
   4           107.   This is a claim by Plaintiffs for fraud against Jetlev, as well as against Mr.
   5    Gerszberg and Mr. Rosenblatt, and each of them, in their personal capacities.
   6           108.   Jetlev, under the direction of Mr. Gerszberg and Mr. Rosenblatt, led
   7    Plaintiffs to believe that Jetlev would continue to support Plaintiffs’ businesses with new
   8    jetpacks. This was a material misrepresentation, however. Jetlev’s actual goal was to
   9    placate Plaintiffs long enough for Jetlev’s pre-existing business to be dismantled. Jetlev
  10    was aware that Plaintiffs were investing time and money in reliance on Jetlev’s
  11    assurances, but were content to allow Plaintiffs to continue to do so to prevent Plaintiffs’
  12    suspicions from being raised, and so that Jetlev could keep Jetpack Enterprises’ money.
  13           109.   Jetlev knew at the time it entered into the Contract that it would not be able
  14    to deliver the promised equipment, but used the Contract as a ruse and intentional
  15    misrepresentation to mollify Plaintiffs and avoid paying the $105,422.80 that was owed.
  16           110.   In forebearing from collecting the $105,422.80, Plaintiffs justifiably relied
  17    upon Jetlev’s material misrepresentation that the money would be credited toward the
  18    purchase of new equipment that would be delivered within the next several weeks.
  19           111.   As a direct and proximate cause of the misconduct herein alleged, Plaintiffs
  20    suffered damages of $105,422.80 (plus interest), in addition to costs associated with time,
  21    money and effort expended in reliance on Jetlev’s promise to provide new equipment,
  22    and lost profits when that equipment was not delivered.            Plaintiffs also suffered
  23    reputational injury.
  24           112.   Later, Jetlev engaged in a second fraud by inventing the fiction, and making
  25    the intentional and material misrepresentation, that it was going into bankruptcy and that
  26    all of its obligations to Plaintiffs – including those under the Contract – were discharged.
  27           113.   In fact, Jetlev never went into bankruptcy, and Jetlev’s intention was to
  28    convince Plaintiffs to abandon their claims and the money that was owed.
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   1           114.   Plaintiffs justifiably relied upon Jetlev’s material misrepresentations that it
   2    had gone bankrupt, and consequently suffered damages when it was induced to give up
   3    its claim to the $105,422.80 that was owed.
   4           115.   As a direct and proximate cause of the misconduct herein alleged, Plaintiffs
   5    suffered damages of $105,422.80 (plus interest), in addition to costs associated with time,
   6    money and effort expended in reliance on Jetlev’s promise to provide new equipment,
   7    and lost profits when that equipment was not delivered.             Plaintiffs also suffered
   8    reputational injury.
   9           116.   Mr. Gerszberg’s and Mr. Rosenblatt’s conduct reflects a callous disregard
  10    for Jetlev’s business partners and customers, as well as a disregard for corporate
  11    formalities and obligations. In doing the acts hereinabove alleged, Jetlev, Mr. Gerszberg
  12    and Mr. Rosenblatt acted fraudulently, oppressively, and maliciously and, by reason
  13    thereof, Plaintiffs are entitled to exemplary and punitive damages.
  14           117.   The foregoing claims by all Plaintiffs are directed not only to Jetlev, but to
  15    Mr. Gerszberg and Mr. Rosenblatt in their personal capacities as alter egos of Jetlev, and
  16    to the extent Mr. Gerszberg or Mr. Rosenblatt personally engaged in the conduct alleged.
  17           118.   To the extent that any defendant attempts to shift liability to JTI, Mr.
  18    Gerszberg and Mr. Rosenblatt should be deemed alter egos of that entity as well for the
  19    reasons discussed elsewhere above.
  20           119.   Furthermore, to the extent that Jetlev is defunct and unable to account for its
  21    liabilities, JLIP, Aquaflier and JLSG should be held jointly liable for any acts by Jetlev
  22    because they are the successors in interest to Jetlev, and/or Jetlev’s alter egos. Mr.
  23    Gerszberg is further an alter ego of all these entities, and Mr. Rosenblatt is an alter ego of
  24    Aquaflier.
  25                              CLAIM III – PROMISSORY FRAUD
  26           120.   Plaintiffs hereby re-allege the paragraphs of the Factual Background sections
  27    above as if stated fully herein.
  28           121.   This is a claim by Plaintiffs for promissory fraud against Jetlev, as well as
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   1    against Mr. Gerszberg and Mr. Rosenblatt, and each of them, in their personal capacities.
   2           122.   Jetlev, under the direction of Mr. Gerszberg and Mr. Rosenblatt, promised
   3    and led Plaintiffs to believe that Jetlev would continue to support Plaintiffs’ businesses
   4    with new jetpacks. Jetlev’s goal, however, was to placate Plaintiffs long enough for
   5    Jetlev’s pre-existing business to be dismantled. Jetlev was aware that Plaintiffs were
   6    investing time and money in reliance on Jetlev’s assurances, but were content to allow
   7    Plaintiffs to continue to do so to prevent Plaintiffs’ suspicions from being raised, and so
   8    that Jetlev could keep Jetpack Enterprises’ money.
   9           123.   Jetlev knew at the time it made such promises and entered into the Contract
  10    that it would not be able to deliver the promised equipment, but used the Contract as a
  11    ruse to mollify Plaintiffs and avoid paying the $105,422.80 that was owed.
  12           124.   In forebearing from collecting the $105,422.80, Plaintiffs justifiably relied
  13    upon Jetlev’s promises that their business would be supported and that the money would
  14    be credited toward the purchase of new equipment that would be delivered within the
  15    next several weeks.
  16           125.   Defendants’ promises were fraudulent. As a direct and proximate cause of
  17    the fraud herein alleged, Plaintiffs suffered damages of $105,422.80 (plus interest), in
  18    addition to costs associated with time, money and effort expended in reliance on Jetlev’s
  19    promise to provide new equipment, and lost profits when that equipment was not
  20    delivered. Plaintiffs also suffered reputational injury.
  21           126.   Mr. Gerszberg’s and Mr. Rosenblatt’s conduct reflects a callous disregard
  22    for Jetlev’s business partners and customers, as well as a disregard for corporate
  23    formalities and obligations. In doing the acts hereinabove alleged, Jetlev, Mr. Gerszberg
  24    and Mr. Rosenblatt acted fraudulently, oppressively, and maliciously and, by reason
  25    thereof, Plaintiffs are entitled to exemplary and punitive damages.
  26           127.   The foregoing claims by all Plaintiffs are directed not only to Jetlev, but to
  27    Mr. Gerszberg and Mr. Rosenblatt in their personal capacities as alter egos of Jetlev, and
  28    to the extent Mr. Gerszberg or Mr. Rosenblatt personally engaged in the conduct alleged.
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   1           128.   To the extent that any defendant attempts to shift liability to JTI, Mr.
   2    Gerszberg and Mr. Rosenblatt should be deemed alter egos of that entity as well for the
   3    reasons discussed elsewhere above.
   4           129.   Furthermore, to the extent that Jetlev is defunct and unable to account for its
   5    liabilities, JLIP, Aquaflier and JLSG should be held jointly liable for any acts by Jetlev
   6    because they are the successors in interest to Jetlev, and/or Jetlev’s alter egos. Mr.
   7    Gerszberg is further an alter ego of all these entities, and Mr. Rosenblatt is an alter ego of
   8    Aquaflier.
   9                     CLAIM IV – NEGLIGENT MISREPRESENTATION
  10           130.   Plaintiffs hereby incorporate the paragraphs of the Factual Background
  11    sections above as if stated fully herein.
  12           131.   This is a claim by Plaintiffs for negligent misrepresentation against Jetlev, as
  13    well as against Mr. Gerszberg and Mr. Rosenblatt, and each of them, in their personal
  14    capacities.
  15           132.   At a minimum, Jetlev, under the direction of Mr. Gerszberg and Mr.
  16    Rosenblatt, negligently represented to Plaintiffs that Jetlev would continue to do business
  17    and be able to sell Plaintiffs new jetpacks. Jetlev knew or should have known that its
  18    business was on the verge of effectively shutting down, but was content to keep Jetpack
  19    Enterprises’ money on the promise that Jetlev was merely experiencing a short term cash
  20    crunch and that new jetpack units would be delivered soon. As such, Defendants’
  21    representations were made negligently.
  22           133.   In justifiable reliance on Jetlev’s negligent representations, Plaintiffs
  23    suspended pursuit of the money that was properly owed to them, and continued to invest
  24    time, money and advertising toward the promised launch of the new Jetlev jetpacks.
  25           134.   As a direct and proximate cause of the misconduct herein alleged, Plaintiffs
  26    suffered damages of $105,422.80 (plus interest), in addition to costs associated with time,
  27    money and effort expended in reliance on Jetlev’s promise to provide new equipment,
  28    and lost profits when that equipment was not delivered.             Plaintiffs also suffered
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   1    reputational injury.
   2           135.    Mr. Gerszberg’s and Mr. Rosenblatt’s conduct reflects a callous disregard
   3    for Jetlev’s business partners and customers, as well as a disregard for corporate
   4    formalities and obligations. In doing the acts hereinabove alleged, Jetlev, Mr. Gerszberg
   5    and Mr. Rosenblatt acted with extreme negligence and, by reason thereof, Plaintiffs are
   6    entitled to exemplary and punitive damages.
   7           136.    The foregoing claims by all Plaintiffs are directed not only to Jetlev, but to
   8    Mr. Gerszberg and Mr. Rosenblatt in their personal capacities as alter egos of Jetlev, and
   9    to the extent Mr. Gerszberg or Mr. Rosenblatt personally engaged in the conduct alleged.
  10           137.    To the extent that any defendant attempts to shift liability to JTI, Mr.
  11    Gerszberg and Mr. Rosenblatt should be deemed alter egos of that entity as well for the
  12    reasons discussed elsewhere above.
  13           138.    Furthermore, to the extent that Jetlev is defunct and unable to account for its
  14    liabilities, JLIP, Aquaflier and JLSG should be held jointly liable for any acts by Jetlev
  15    because they are the successors in interest to Jetlev, and/or Jetlev’s alter egos. Mr.
  16    Gerszberg is further an alter ego of all these entities, and Mr. Rosenblatt is an alter ego of
  17    Aquaflier.
  18               CLAIM V – INTENTIONAL INTERFERENCE WITH PROSPECTIVE
  19                                    ECONOMIC ADVANTAGE
  20           139.    Plaintiffs hereby incorporate the paragraphs of the Factual Background
  21    sections above as if stated fully herein.
  22           140.    This is a claim by Jetpack Enterprises against Jetlev, Aquaflyer, JLIP, JLSG,
  23    Mr. Gerszberg and Mr. Rosenblatt, and each of them, for intentional interference with
  24    prospective economic advantage.
  25           141.    In 2011, Jetpack Enterprises had a positive relationship with Mr. Li’s Jetlev
  26    Technologies, Inc. business. This relationship allowed Jetpack Enterprises to purchase
  27    jetpack equipment from Mr. Li’s business, and allowed Jetpack Enterprises to pursue
  28    commissioned jetpack sales.        Jetpack Enterprises’ relationship with Mr. Li’s Jetlev
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   1    Technologies, Inc. business had the potential for a bright future, and thus constituted a
   2    valuable prospective economic advantage.
   3           142.   Defendants were aware that Jetpack Enterprises had this prospective
   4    economic advantage with Mr. Li’s Jetlev Technologies, Inc., yet deliberately set out to
   5    wipe the slate clean on that relationship for their own personal gain in the hope of
   6    remolding the jetpack industry.
   7           143.   Such acts of interference included at least the following. Defendants used
   8    Jetlev, LLC to take over Mr. Li’s pre-existing business. Instead of honoring the existing
   9    relationship with Jetpack Enterprises, Defendants allowed Jetlev to fall behind on its
  10    obligations to Jetpack Enterprises. Defendants then induced Jetpack Enterprises to sign
  11    agreements that were either one-sided or fraudulent. Mr. Gerszberg’s JLIP then sued
  12    Jetpack Enterprises for patent infringement when Jetpack Enterprises found a new
  13    business partner.
  14           144.   As a direct and proximate cause of the Defendants’ intentional interference
  15    with the original Jetpack Enterprises – Jetlev Technologies, Inc. relationship, Jetpack
  16    Enterprises lost a jetpack supplier, lost the possibility of commissioned sales, suffered
  17    reputational harm, and lost $105,422.80 along with other money expended in reliance on
  18    false promises.
  19           145.   Mr. Gerszberg’s and Mr. Rosenblatt’s conduct reflects a callous disregard
  20    for Jetlev’s business partners and customers, as well as a disregard for corporate
  21    formalities and obligations. In doing the acts hereinabove alleged, Defendants acted
  22    fraudulently, oppressively, and maliciously and, by reason thereof, Plaintiffs are entitled
  23    to exemplary and punitive damages.
  24           146.   The foregoing claims by all Plaintiffs are directed not only to Jetlev, but to
  25    Mr. Gerszberg and Mr. Rosenblatt in their personal capacities as alter egos of Jetlev, and
  26    to the extent Mr. Gerszberg or Mr. Rosenblatt personally engaged in the conduct alleged.
  27           147.   To the extent that any defendant attempts to shift liability to JTI, Mr.
  28    Gerszberg and Mr. Rosenblatt should be deemed alter egos of that entity as well for the
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   1    reasons discussed elsewhere above.
   2           148.   Furthermore, to the extent that Jetlev is defunct and unable to account for its
   3    liabilities, JLIP, Aquaflier and JLSG should be held jointly liable for any acts by Jetlev
   4    because they are the successors in interest to Jetlev, and/or Jetlev’s alter egos. Mr.
   5    Gerszberg is further an alter ego of all these entities, and Mr. Rosenblatt is an alter ego of
   6    Aquaflier.
   7                                  CLAIM VI – CONVERSION
   8           149.   Plaintiffs hereby incorporate the paragraphs of the Factual Background
   9    sections above as if stated fully herein.
  10           150.   This is a claim by Plaintiffs for conversion against Jetlev, as well as against
  11    Mr. Gerszberg and Mr. Rosenblatt, and each of them, in their personal capacities.
  12           151.   Jetlev, under the direction of Mr. Gerszberg and Mr. Rosenblatt, wrongfully
  13    exercised dominion over Jetpack Enterprises’ property – namely, Jetpack Enterprises’
  14    money, which is a fixed and readily identifiable sum – by taking that property and
  15    applying it to the personal use of the Defendants.
  16           152.   As a direct and proximate cause of the misconduct herein alleged, Plaintiffs
  17    suffered damages of $105,422.80 (plus interest), in addition to costs associated with time,
  18    money and effort expended in reliance on Jetlev’s promise to provide new equipment,
  19    and lost profits when that equipment was not delivered.             Plaintiffs also suffered
  20    reputational injury.
  21           153.   Mr. Gerszberg’s and Mr. Rosenblatt’s conduct reflects a callous disregard
  22    for Jetlev’s business partners and customers, as well as a disregard for corporate
  23    formalities and obligations. In doing the acts hereinabove alleged, Jetlev, Mr. Gerszberg
  24    and Mr. Rosenblatt acted fraudulently, oppressively, and maliciously and, by reason
  25    thereof, Plaintiffs are entitled to exemplary and punitive damages.
  26           154.   The foregoing claims by all Plaintiffs are directed not only to Jetlev, but to
  27    Mr. Gerszberg and Mr. Rosenblatt in their personal capacities as alter egos of Jetlev, and
  28    to the extent Mr. Gerszberg or Mr. Rosenblatt personally engaged in the conduct alleged.
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   1           155.   To the extent that any defendant attempts to shift liability to JTI, Mr.
   2    Gerszberg and Mr. Rosenblatt should be deemed alter egos of that entity as well for the
   3    reasons discussed elsewhere above.
   4           156.   Furthermore, to the extent that Jetlev is defunct and unable to account for its
   5    liabilities, JLIP, Aquaflier and JLSG should be held jointly liable for any acts by Jetlev
   6    because they are the successors in interest to Jetlev, and/or Jetlev’s alter egos. Mr.
   7    Gerszberg is further an alter ego of all these entities, and Mr. Rosenblatt is an alter ego of
   8    Aquaflier.
   9                                  CLAIM VII – NEGLIGENCE
  10           157.   Plaintiffs hereby incorporate the paragraphs of the Factual Background
  11    sections above as if stated fully herein.
  12           158.   This is a claim by Plaintiffs for negligence against Jetlev, as well as against
  13    Mr. Gerszberg and Mr. Rosenblatt, and each of them, in their personal capacities.
  14           159.   At a minimum, Jetlev, under the direction of Mr. Gerszberg and Mr.
  15    Rosenblatt, acted negligently in the management of Jetpack Enterprises’ money. Jetlev,
  16    Mr. Gerszberg and Mr. Rosenblatt had a duty to properly apply Jetpack Enterprises’
  17    money toward the purchase of equipment, and breached that duty by mismanaging
  18    Jetpack Enterprises’ funds and not making any provision for their repayment.
  19           160.   Jetlev’s breach – and the corresponding breach of Mr. Gerszberg and Mr.
  20    Rosenblatt – directly and proximately caused Plaintiffs to lose the $105,422.80 that had
  21    been entrusted to Jetlev, as well as to not receive any of the promised equipment.
  22           161.   As a direct and proximate cause of the misconduct herein alleged, Plaintiffs
  23    suffered damages of $105,422.80 (plus interest), in addition to costs associated with time,
  24    money and effort expended in reliance on Jetlev’s promise to provide new equipment,
  25    and lost profits when that equipment was not delivered.             Plaintiffs also suffered
  26    reputational injury.
  27           162.   Mr. Gerszberg’s and Mr. Rosenblatt’s conduct reflects a callous disregard
  28    for Jetlev’s business partners and customers, as well as a disregard for corporate
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   1    formalities and obligations. In doing the acts hereinabove alleged, Jetlev, Mr. Gerszberg
   2    and Mr. Rosenblatt acted with extreme negligence and, by reason thereof, Plaintiffs are
   3    entitled to exemplary and punitive damages.
   4           163.     The foregoing claims by all Plaintiffs are directed not only to Jetlev, but to
   5    Mr. Gerszberg and Mr. Rosenblatt in their personal capacities as alter egos of Jetlev, and
   6    to the extent Mr. Gerszberg or Mr. Rosenblatt personally engaged in the conduct alleged.
   7           164.     To the extent that any defendant attempts to shift liability to JTI, Mr.
   8    Gerszberg and Mr. Rosenblatt should be deemed alter egos of that entity as well for the
   9    reasons discussed elsewhere above.
  10           165.     Furthermore, to the extent that Jetlev is defunct and unable to account for its
  11    liabilities, JLIP, Aquaflier and JLSG should be held jointly liable for any acts by Jetlev
  12    because they are the successors in interest to Jetlev, and/or Jetlev’s alter egos. Mr.
  13    Gerszberg is further an alter ego of all these entities, and Mr. Rosenblatt is an alter ego of
  14    Aquaflier.
  15                          CLAIM VIII - FRAUDULENT CONVEYANCE
  16           166.     Plaintiffs hereby incorporate the paragraphs of the Factual Background
  17    sections above as if stated fully herein.
  18           167.     This is a claim by Plaintiffs for fraudulent conveyance against Jetlev and
  19    Aquaflier, as well as against Mr. Gerszberg and Mr. Rosenblatt, and each of them, in
  20    their personal capacities.
  21           168.     Jetlev had substantial financial obligations to Plaintiffs as a result of having
  22    taken their money and having unfulfilled obligations under the Contract. Jetlev was thus
  23    a debtor of the Plaintiffs.
  24           169.     With deliberate intent to avoid paying any compensation to Plaintiffs, Jetlev,
  25    under the direction of Mr. Gerszberg and Mr. Rosenblatt, fraudulently transferred assets
  26    to Aquaflier.
  27           170.     This fraudulent conveyance directly and proximately caused Plaintiffs to
  28    lose the sums of money recited herein.
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   1           171.   The foregoing conduct reflects a callous disregard for Plaintiffs, as well as a
   2    disregard for corporate formalities and obligations.        In doing the acts hereinabove
   3    alleged, Jetlev, Aquafler, Mr. Gerszberg and Mr. Rosenblatt acted oppressively, and
   4    maliciously and, by reason thereof, Plaintiffs are entitled to exemplary and punitive
   5    damages.
   6           172.   To the extent that any defendant attempts to shift liability to JTI, Mr.
   7    Gerszberg and Mr. Rosenblatt should be deemed alter egos of that entity as well for the
   8    reasons discussed elsewhere above.
   9           173.   Furthermore, to the extent that Jetlev is defunct and unable to account for its
  10    liabilities, JLIP, Aquaflier and JLSG should be held jointly liable for any acts by Jetlev
  11    because they are the successors in interest to Jetlev, and/or Jetlev’s alter egos. Mr.
  12    Gerszberg is further an alter ego of all these entities, and Mr. Rosenblatt is an alter ego of
  13    Aquaflier.
  14                        CLAIM IX - BREACH OF FIDUCIARY DUTY
  15           174.   Plaintiffs hereby incorporate the paragraphs of the Factual Background
  16    sections above as if stated fully herein.
  17           175.   This is a claim by Plaintiffs for breach of fiduciary duty against Mr.
  18    Gerszberg and Mr. Rosenblatt.
  19           176.   Jetlev had substantial financial obligations to Plaintiffs as a result of having
  20    taken their money and being in the role (supposedly) of a business partner. Plaintiffs
  21    were thus creditors of Jetlev.
  22           177.   Through the actions of Mr. Gerszberg, and later Mr. Rosenblatt, Jetlev first
  23    became dangerously undercapitalized, and then completely insolvent. Mr. Gerszberg and
  24    Mr. Rosenblatt then fraudulently transferred remaining assets of Jetlev to themselves and
  25    to their other companies.
  26           178.   Mr. Gerszberg and Mr. Rosenblatt owed a fiduciary duty to Plaintiffs (its
  27    creditors) to avoid taking any such actions, yet did they did so deliberately, and without
  28    informing Plaintiffs of what was transpiring. Indeed, Mr. Gerszberg and Mr. Rosenblatt
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   1    gave knowingly false assurances to its creditors that Jetlev was in stable financial
   2    condition when it was not, and then later falsely declared that Jetlev had gone bankrupt
   3    when it had not. Mr. Gerszberg and Mr. Rosenblatt thus breached their fiduciary duties
   4    to Plaintiffs.
   5           179.       This breach of fiduciary duty directly and proximately caused Plaintiffs to
   6    lose the sums of money recited herein, specifically $105,422.80.
   7           180.      The foregoing conduct reflects a callous disregard for Plaintiffs, as well as a
   8    disregard for corporate formalities and obligations.            In doing the acts hereinabove
   9    alleged, Mr. Gerszberg and Mr. Rosenblatt acted oppressively, and maliciously and, by
  10    reason thereof, Plaintiffs are entitled to exemplary and punitive damages.
  11

  12                                         PRAYER FOR RELIEF
  13    WHEREFORE, Plaintiffs seeks:
  14               a) judgment that Jetlev materially breached the Contract, and that the other
  15                  Defendants are jointly liable with Jetlev on Plaintiffs’ claims;
  16               b) judgment that Defendants are liable for fraud, promissory fraud, conversion,
  17                  intentional interference with prospective business advantage, fraudulent
  18                  conveyance, and breach of fiduciary duty; or additionally or in the alternative,
  19                  for negligent misrepresentation and negligence;
  20               c) rescission of the Contract and full restitution of monies owed to Plaintiffs,
  21                  which is at least $105,422.80, plus interest;
  22               d) compensatory damages in an amount sufficient to make Plaintiffs whole;
  23               e) punitive damages in an amount commensurate with Defendants’ misconduct
  24                  and to dissuade further misconduct, but in no event less than $1,000,000.00;
  25               f) an award of Plaintiffs’ attorneys fees and costs in this action;
  26               g) pre- and post-judgment interest; and
  27               h) such other and further relief as the Court may deem just and equitable.
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   1      Dated: December 18, 2015            FOLEY & LARDNER LLP
   2

   3
                                              By: /s/ Jean-Paul Ciardullo
                                                  Jean-Paul Ciardullo
   4

   5                                          Attorneys for Plaintiffs
                                              Jetpack Enterprises, LCC and
   6                                          Jetpack Enterprises – San Diego, LLC
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   1                                  DEMAND FOR JURY TRIAL
   2               Jetpack Enterprises, LCC and Jetpack Enterprises – San Diego, LLC hereby
   3    demand a trial by jury of all issues triable by a jury.
   4

   5    Dated: December 18, 2015                        FOLEY & LARDNER LLP
   6

   7
                                                        By: /s/ Jean-Paul Ciardullo
                                                            Jean-Paul Ciardullo
   8

   9                                                    Attorneys for Plaintiffs
                                                        Jetpack Enterprises, LCC and
  10                                                    Jetpack Enterprises – San Diego, LLC
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